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 4
 5   Attorney for Defendant
     AISHA STEVENS
 6
 7
                                     IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA                                No. 2:10-CR211
11
12                         Plaintiff,                        STIPULATION AND [PROPOSED]
                                                             ORDER
13              vs.
14                                                           JUDGE: Honorable Garland Burrell.
     Aisha Stevens et. al.
15
16                         Defendants
17             IT IS HEREBY stipulated between the UNITED STATES OF AMERICA through its
18   undersigned counsel, Jared Dolan, Assistant United States Attorney together with counsel for
19   defendant Aisha Stevens, Preeti K. Bajwa, Esq., counsel for defendant Anjenette Brown,
20   Michael Bigelow, Esq., and counsel for defendant, John Smithson, Kirk McAllister hereby agree
21   and stipulate that the status conference presently set for December 2, 2011 at 9:00 am be
22   continued to January 6, 2012, at 9:00 a.m., thus vacating the presently set status conference.
23             The reason for this continuance is to allow defense counsel additional time to review
24
     discovery with the defendant, to examine possible defenses and to continue investigating the
25
26   facts of the case.

27             Further, all of the parties, the United States of America and all of the defendants as stated
28   above, hereby agree and stipulate that time under the Speedy Trial Act should be excluded under


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 1   Title 18, United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local
 2   code T-2 (unusual and complex case) and Local Code T-4 (to allow defense counsel time to
 3   prepare) from the date of the parties’ stipulation, January 10, 2011, to and including Monday
 4   February 14, 2011.
 5                             TIME EXCLUDED UNDER THE SPEEDY TRIAL ACT
 6             The parties (the government and all twelve (12) defendants) agree and stipulate that with
 7   the voluminous discovery, the number of defendants involved in the case (12), the complex legal
 8   issues involved in the case and the time needed by all defendants (12) to review all of the
 9   discovery produced by the government to date, it is unreasonable to expect adequate preparation
10   for pretrial proceedings and trial itself within the time limits established in § 3161. In addition,
11   the parties stipulate and agree that the continuance requested herein is necessary to provide
12   defense counsel reasonable time to prepare their respective clients' defenses taking into account
13   due diligence and that the interests of justice in granting this reasonable request for a continuance
14   outweighs the best interests of the public and defendants for a speedy trial in this case, pursuant
15   to Title 18, United States Code, Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to
16   Local Code T-2 (unusual and complex case) and Local Code T-4 (to allow defense counsel time
17   to prepare).
18
     DATED: November 30, 2011
19                                                      Respectfully submitted,
20
                                                        /s/ Preeti K. Bajwa
21                                                      PREETI K. BAJWA
                                                        Attorney for Defendant
22
                                                        AISHA STEVENS
23
24   DATED: November 30, 2011
25                                                      Respectfully submitted,
26
                                                        /s/ Michael Bigelow
27                                                      MICHAEL BIGELOW
28                                                      Attorney for Defendant
                                                        ANJENETTE BROWN

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 1
     DATED: November 30, 2011                           BENJAMIN WAGNER
 2
                                                        United States Attorney
 3
                                                        _/s/ Jared Dolan
 4                                                      JARED DOLAN
 5                                                      Assistant U.S. Attorney
                                                        Attorney for Plaintiff
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 5   Attorney for Defendant
 6   AISHA STEVENS

 7
                                       IN THE UNITED STATES DISTRICT COURT
 8                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                               ) No. 2:10-CR211
                                                             )
11             Plaintiff,                                    )
                                                             ) [PROPOSED] ORDER TO
12                                                           ) CONTINUE STATUS CONFERNCE
     v.                                                      )
13                                                           )
     AISHA STEVENS,                                          )
14   et al.,                                                 )
                                                             )
15                                                           )
               Defendants.                                   )
16                                                           )
                                                             )
17
               The Court, having received, read, and considered the stipulation of the parties, and good
18
     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
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     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
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     this case is unusual and complex and that it is unreasonable to expect adequate preparation for
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     pretrial proceedings and trial itself within the time limits established in 18 U.S.C. § 3161. In
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     addition, the Court specifically finds that the failure to grant a continuance in this case would
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     deny defense counsel reasonable time necessary for effective preparation, taking into account the
24
     exercise of due diligence. The Court finds that the ends of justice to be served by granting the
25
     requested continuance outweigh the best interests of the public and the defendants in a speedy
26
     trial.
27
               The Court orders that the time from the date of the parties' stipulation, December 2, 2011,
28
     to and including January 6, 2012, shall be excluded from computation of time within which the

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 1   trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
 2   3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T2 (unusual and complex case) and T4
 3   (reasonable time for defense counsel to prepare). It is further ordered that the December 2, 2011,
 4   status conference shall be continued until January 6, 2012, at 9:00 a.m.
 5             IT IS SO ORDERED.
 6             Date: 12/1/2011
 7
 8                                                              _________________________
                                                                GARLAND E. BURRELL, JR.
 9                                                              United States District Judge
10
               DEAC_Signature-END:




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